This is an application for leave to appeal from the refusal of a writ of habeas corpus.
The petitioner alleges that he was not advised of his right to have witnesses summoned and that he was not permitted to have or get in touch with an attorney. The fact that he was not advised of his right to have witnesses summoned cannot be inquired into on a writ of habeas corpus. He alleges no facts to support his allegation that he was not permitted to have or get in touch with an attorney but simply makes that bare allegation. State ex rel.Williams v. Warden of Maryland Penitentiary, 190 Md. 762,60 A.2d 186. He also alleges that his conviction on the charge of larceny was without merit and illegal and that no evidence or testimony was produced to prove him guilty. The question of guilt or innocence and credibility and weight of the evidence cannot be tried on habeas corpus. Rountree v. Wright, 189 Md. 292,55 A.2d 847, and cases there cited.
Application denied, without costs.